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            EXHIBIT B
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MARYLAND


In re:                                               *

Yolande E Essangui                                   *       Case No. 16-12984

                                                     *       Chapter 7
               Debtor
*        *     *      *       *       *      *       *       *      *       *       *      *

Yolande E Essangui                                   *

               Plaintiff                             *       Adv. No. 16-00201

v.                                                   *

Firstmark Services, et al.                           *

                       Defendants.                   *

*        *     *       *      *       *      *       *       *      *       *       *      *


ANSWERS OF GS2 GRANTOR TRUST 2016-A, ASSIGNEE OF SLF V-2015 TRUST TO
                  PLAINTIFF’S INTERROGATORIES

        1.      Identify any and all persons having knowledge of the facts relevant or material to
the allegations of the Complaint and/or Answer, and with regard to each individual so named,
give a narrative description of the facts or factual areas in which he or she is knowledgeable.

Answer:
Defendant objects to this Interrogatory on the grounds that it is overly broad, not reasonably
calculated to lead to the discovery of admissible evidence, and not reasonably limited in
temporal scope.


Subject to and without waiving the foregoing objections, Defendant answers that Nelnet
services the account for Defendant and employees of Nelnet have knowledge of the facts
relevant to Plaintiff’s complaint. Defendant identifies Troy Anderson, Associate Account
Manager, Client Services, Nelnet Servicing, LLC, d/b/a Firstmark Services, Woodbury, MN:
877-303-0533; Lisa Cohen, representative of the GS2 Grantor Trust 2016-A, assignee of SLF
V-2015 Trust 402 W. Broadway, Suite 2000, San Diego, CA 92101; a representative of Ross
University who has yet to be identified.
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         2.     Identify each person whom you expect to call at trial as an expert witness,
stating the subject matter on which he/she is expected to testify, his/her field of expertise and
the full and detailed qualifications, training, professional and practical experience, education
and degree obtained by each person.

Answer:

Not applicable.


        3.     As to each person named in the answer to interrogatory 2, state the substance of
the facts and opinions to which the expert is expected to testify and a summary of the grounds
for each opinion. Attach to the answers to these interrogatories copies of all written reports
submitted to you (or detailed resume if reports were oral) of each person named in the answer to
interrogatory 2.

Answer:

Not applicable.

        4.      State whether or not there are any other reports in existence from the particular
experts named, either written or oral. If the answer is in the affirmative, attach to the answers
to these interrogatories clear copies of all such reports. If any such report, either written or
oral, subsequently becomes known to you or becomes available, submit copies thereof in
supplemental answers to these interrogatories.

Answer:

Not applicable

        5.      Set forth the names, addresses and fields of expertise of any person, other than
those named in the answer to interrogatory 2, who has been retained, specifically employed or
consulted by you in anticipation of litigation or preparation for trial and who is not expected
to be called as a witness at trial and the subject matter on which said person was consulted.

Answer:

Not applicable

        6.     Do you contend that any declaration against interest with regard to the issues in
this lawsuit have been made by any party hereto?

Answer:

Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved.


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Subject to and without waiving the foregoing objections, Defendant answers that it is unable
to answer the interrogatory as it does not understand the question being asked.

        7.     If the answer to interrogatory 6 is in the affirmative, set forth the exact words, if
known, and if not known, the substance of each such declaration against interest, the name and
address of the person making the declaration against interest, the names and addresses of all
persons present when the declaration against interest was made, the place where and the time
when the declaration against interest was made. If the declaration against interest was reduced
to writing, annex a copy hereto.

Answer:

Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved.




Subject to and without waiving the foregoing objections, Defendant answers that it is unable
to answer the interrogatory as it does not understand the question being asked.



       8.     Do you contend that any admissions with regard to the issues in this lawsuit
have been made by any party hereto or by any director, officer, agent and/or employee of any
party hereto?

Answer:

Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved.




Subject to and without waiving the foregoing objections, Defendant answers that it is unable
to answer the interrogatory as it does not understand the question being asked.




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       9.     If the answer to interrogatory 8 is in the affirmative, set forth the exact words, if
known, and if not known, the substance of each such admission, the name and address of the
person making the admission, the names and addresses of all persons present when the
admission was made. If the admission was reduced to writing, annex a copy hereto.

Answer:

Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved.


Subject to and without waiving the foregoing objections, Defendant answers that it is unable
to answer the interrogatory as it does not understand the question being asked.



        10.      Identify any and all documents which have any bearing on the factual questions
at issue in the present litigation.

Answer:
Defendant objects to this Interrogatory on the grounds that it is overly broad, not reasonably
calculated to lead to the discovery of admissible evidence, and not reasonably limited in
temporal scope.


Subject to and without waiving the foregoing objections, Defendant answers that it believes the
applicable documents include:

Copy of original note with Citibank
Copy of Disclosure Statement dated March 25, 2008
Copy of Disclosure Statement dated March 26, 2008
Copy of Disclosure Statement dated March 28, 2008
Service History Comments (34 pages)
Borrower Transaction History


        11.    Did you receive any statement, either written or oral, from any person relating in
any way to this litigation? If the answer to this interrogatory is in the affirmative, as to each
such statement, please set forth: (a) the date on which the statement was obtained, (1,) the
person who provided the statement, (c) the substance of the statement, (d) the identity of each
and every person who was present when the statement was received. If the statement was in
writing, annex to these answers to interrogatories a clear copy of the statement.

Answer:
Defendant objects to this Interrogatory on the grounds that it is overly broad, not reasonably
calculated to lead to the discovery of admissible evidence, and not reasonably limited in


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temporal scope. Defendant objects to this Interrogatories to the extent that they purport to
require the disclosure of information subject to the attorney work product protection, the
attorney client privilege, or any other applicable privilege. Defendant objects to this
Interrogatories to the extent that they purport to require the disclosure of information that is not
within Defendant’s possession, custody, or control. Defendant objects to the Interrogatories to
the extent that they are vague, ambiguous, confusing, and/or contrary to the plain meaning of
the terms involved. Defendant objects to the Interrogatories to the extent that they are
cumulative, duplicative, harassing, oppressive, and/or unduly burdensome, and fail to seek, and
are not reasonably calculated to lead to the discovery of admissible evidence.


Subject to and without waiving the foregoing objections, Defendant answers that all information
related to this account from the date Plaintiff filed her adversary complaint, April 21, 2016,
through December 30, 2016, is included in the Service History Comments included with the
Answers to Request for Production of Documents.


       12.     If you contend that any loans due to you by the Plaintiff are "qualified education
loans" within the meaning of 11 U.S.C. § 523(a)(8) and Section 221(d) of the Internal Revenue
Code of 1986 state all facts upon which you rely in making such contention.

Answer:
Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved and calls for a legal
conclusion. Defendant objects to the Interrogatories to the extent they seek information
outside the scope of that permissible by Bankruptcy Rules and purport to require the
disclosure of information that would be more practically obtained through a deposition.


Subject to and without waiving the foregoing objections, Defendant answers that Ross
University is a Title IV school as identified by ED School Code G22460. See
http://www.finaid.org/fafsa/20071101FederalSchoolCodeList.pdf at page 76. The Disclosure
Statement indicates the funds advanced were distributed directly to Ross University as
requested by Plaintiff. Defendant reserves the right to include other facts or testimony at the
trial or motion for summary judgment in this adversary proceeding.

         13.    Designate for each and every interrogatory answered herein which of such
information is not within the personal knowledge of the person certifying these answers and as
to that information, state the name and address of every person from whom it was received, or,
if the source of the information is documentary, a full description including the location thereof.

Answer:
Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved and calls for a legal
conclusion.



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Subject to and without waiving the foregoing objections, Defendant answers that it relies upon
http://www.finaid.org/fafsa/20071101FederalSchoolCodeList.pdf in determining that Ross
University is a Title IV school.


        14.    Identify by name, address and title each individual who either supplied
information used for or participated in the drafting of these answers to interrogatories. For each
person identified (a) if that individual assisted in the drafting of an answer, identify by
interrogatory number each answer which the individual assisted in drafting, (b) if that individual
supplied information which was used in preparation of an interrogatory answer, state by
interrogatory number, each answer for which the individual supplied information and identify
the information supplied. If the source of the information was documentary, identify in detail
the documents from which the information was obtained.

Answer:

Not applicable.

        15.    Itemize each and every obligation that you allege is due and owing to you by the
Plaintiff.

Answer:

Plaintiff owes Defendant, under the CitiAssist Health Professions Loans Online:

Principal $37,175.25, plus interest through 1/20/17 of $2,083.84, with a per diem of $7.893375.

        16.     Identify each advance of funds that you allege you have made to or for the
benefit of Plaintiff.

Answer:
Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved as to what is meant by
“advance of funds.”


Subject to and without waiving the foregoing objections, Defendant answers that under the
Citibank promissory note and Disclosure Statement, $23,670 was advanced to Ross University
on behalf of Plaintiff and Defendant is now the owner of the loan.

       17.     Identify each payment that you have received from or on behalf of the Plaintiff.

Answer:
Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved. Defendant objects to


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the Interrogatories to the extent that they are cumulative, duplicative, harassing, oppressive,
and/or unduly burdensome, and fail to seek, and are not reasonably calculated to lead to the
discovery of admissible evidence


Subject to and without waiving the foregoing objections, Defendant answers payments made by
Plaintiff or on behalf of Plaintiff are contained in the “Service History Comments” included
with the answers to request for production of documents.

       18.    If any of your responses to the accompanying Requests for Admission are not an
unqualified admission, furnish any and all facts upon which you rely upon not making such
unqualified admission.

Answer:
Defendant objects to the Interrogatories to the extent that they are vague, ambiguous,
confusing, and/or contrary to the plain meaning of the terms involved and calls for a legal
conclusion. Defendant objects to the Interrogatories to the extent they seek information
outside the scope of that permissible by Bankruptcy Rules and purport to require the
disclosure of information that would be more practically obtained through a deposition.


Subject to and without waiving the foregoing objections, Defendant answers that Ross
University is a Title IV school as identified by ED School Code G22460. See
http://www.finaid.org/fafsa/20071101FederalSchoolCodeList.pdf. At page 76. The funds
advanced were distributed directly to Ross University as requested by Plaintiff pursuant to the
Disclosure Statement. Defendant reserves the right to include other facts or testimony at the
trial or motion for summary judgment in this adversary proceeding.




                                                      /s/Michael J. Klima, Jr.___
                                                      MICHAEL J. KLIMA, JR.
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                                                      Suite 300
                                                      Pasadena, MD 21122
                                                      410-768-2280
                                                      Attorney for Defendant
                                                      Attorney File Number 16-13093




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the foregoing Answers to

Interrogatories was served electronically on March 8, 2017 on::

Ronald Drescher, Esq.
Drescher & Associates, P.A.
4 Reservoir Circle Suite 107
Baltimore, MD 21208


                                                    /s/Michael J. Klima, Jr.____
                                                    Michael J. Klima, Jr.




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